
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed for the reasons stated in the opinion of Mr. Justice Rabin (66 AD2d 91) to which we add only that there cannot be any question concerning the intention of the Legislature by section 105.30 of the Penal Law to adopt the unilateral rather than the bilateral approach to conspiracy in light of the analogous statutory provisions contained in article 100 (criminal solicitation), article 110 (attempt), and article 115 (criminal facilitation) as well as article 105 (conspiracy) of the Penal Law.
Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur.
Order affirmed in a memorandum.
